Case 1:17-cv-04327-LLS-RWL Document 14-4 Filed 06/16/17 Page 1of5

  
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‘Online Transfers from Bank of America’ via Partners <partners@ndap-ilc.com> Tue, Jun 13, 2017 at 2:41 PM

Reply-To: Online Transfers from Bank of America <bankofamericatransfers@mail.transfers. bankofamerica.com>
To: partners@ndap-lic.com

We have successfully sent the following transfer:

 

Item #: 203612044
Amount: $5,060.00

To: Dalva Ventures
Fee: 30.00

Send on Date: 06/13/2017
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